           Case 3:20-cv-30089-KAR Document 1 Filed 06/18/20 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   WESTERN DIVISION

                                                           CIVIL ACTION NO. 3:20-cv-30089


BENJAMIN MADDISON,                                     )
     Plaintiff                                         )
                                                       )
vs.                                                    )
                                                       )
CITY OF NORTHAMPTON,                                   )
DAVID NAREWICZ, JODY KASPER                            )
and DAVID NETTO,                                       )
      Defendants                                       )


                                    NOTICE OF REMOVAL

      NOW COME the defendants, City of Northampton, David (Narewicz), Jody Kasper and

David Netto (collectively, “Petitioners”), by their attorney, and pursuant to 28 U.S.C. § 1441, et

seq., and state as follows:

         1. The Petitioners exercise their rights under the provisions of 28 U.S.C. § 1441, et seq.,

            to remove this action from the Superior Court of the Department of the Trial Court,

            Commonwealth of Massachusetts, Hampshire County, in which this case is now

            pending under the name and style: Benjamin Maddison v. City of Northampton, David

            Narewicz, Jody Kasper and David Netto, Docket No. 2080CV00053.


         2. This is an action in which the District Courts of the United States have been given

            original jurisdiction in that it arises under the laws of the United States as provided in

            28 U.S.C. § 1331.




641840
           Case 3:20-cv-30089-KAR Document 1 Filed 06/18/20 Page 2 of 3
                                                                                          Page 2 of 3


         3. Specifically, the plaintiff, Benjamin Maddison, alleges violations of his rights

            pursuant to an alleged violation of the First Amendment of the United States

            Constitution.

         4. This action was filed on or about May 18, 2020. The complaint was received by the

            City of Northampton on June 1, 2020; by Jody Kasper on June 1, 2020; by David

            (Narewicz) on June 1, 2020; and by David Netto on June 1, 2020. In accordance with

            the requirements of 28 U.S.C. § 1446, this Notice of Removal is filed within thirty

            (30) days after the receipt of the complaint upon the aforementioned Petitioner.

         5. Pursuant to 28 U.S.C. § 1446, the Petitioners are filing contemporaneously with this

            Notice of Removal copies of the following served upon it in this action (attached

            hereto as Exhibits A, Exhibit B, Exhibit C, Exhibit D, and Exhibit E respectively):

                A. Summonses;

                B. Civil Action Cover Sheet;

                C. Complaint;

                D. Tracking Order; and

                E. Notice of Address Change.

         6. Based on the foregoing, the Petitioners respectfully request that this action be

            removed from the Superior Court, Department of the Trial Court of Massachusetts,

            Commonwealth of Massachusetts, Hampshire County, to the United States District

            Court for the District of Massachusetts, Western Division, the District and Division

            where the action is pending.

         7. Written notice of the filing of this Notice will be given to the adverse party.

         8. A copy of this petition will be filed with the clerk of the Superior Court Department,

            Hampshire County.


641840
          Case 3:20-cv-30089-KAR Document 1 Filed 06/18/20 Page 3 of 3
                                                                                        Page 3 of 3


    WHEREFORE, the Petitioners respectfully request that this action be removed to this Court

and that this Court accept jurisdiction of this action and that this action be placed on the docket

of this Court for further proceedings, as though this action had originally been instituted in this

Court.

                                                 THE DEFENDANTS,
                                                 CITY OF NORTHAMPTON, DAVID
                                                 (NAREWICZ), JODY KASPER AND DAVID
                                                 NETTO

Dated: June 18, 2020

                                                 By s/ Nancy Frankel Pelletier
                                                 Nancy Frankel Pelletier, Esq., BBO# 544402
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants** on this 18th day
of June, 2020.

**
Benjamin Maddison
P.O. Box 442
Hadley, MA 01035
Email: mitiman26@gmail.com


                                                     /s/ Nancy Frankel Pelletier
                                                     Nancy Frankel Pelletier, Esq.




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